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                             EXHIBIT E
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  1                        UNITED STATES DISTRICT COURT
  2                         NORTHERN DISTRICT OF TEXAS
  3                                 DALLAS DIVISION
  4
  5
          IN RE:                                 )
  6                                              )
                                                 )
  7       NATIONAL RIFLE                         ) Case No.
          ASSOCIATION OF AMERICA                 ) 21-30085-hdh-11
  8       AND SEA GIRT, LLC,                     )
                                                 )
  9           Debtors.                           )
 10
 11      ******************************************************
 12                REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
 13                          HONORABLE PHILLIP JOURNEY
 14                                 MARCH 18, 2021
 15         CONFIDENTIAL PURSUANT TO PROPOSED PROTECTIVE ORDER
 16      ******************************************************
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  1           REMOTE ORAL AND VIDEOTAPED DEPOSITION OF HONORABLE

  2     PHILLIP JOURNEY, produced as a witness at the instance

  3     of the New York State Office of the Attorney General,

  4     and duly sworn, was taken remotely in the above-styled

  5     and numbered cause on the 18th day of March, 2021, from

  6     4:10 p.m. to 7:57 p.m., via Zoom, before Julie C.

  7     Brandt, RMR, CRR, and CSR in and for the State of Texas,

  8     reported by machine shorthand, with the witness located

  9     in Wichita, Kansas, pursuant to the Federal Rules of

 10     Civil Procedure and the provisions stated on the record

 11     or attached hereto.

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  9
        VIDEOGRAPHER:
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                Zack Mata - Veritext
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  1     changes made for that version?

  2             A.   I remember there were two bylaws events that

  3     were voted on in the October 24th meeting.                I do not

  4     recall the topics.        I do recall that I voted for both of

  5     them.

  6             Q.   Okay.     And now let's go to that board meeting,

  7     and I want to ask you when the board broke up to have

  8     the executive session relating to the Wayne LaPierre

  9     employment contract, were you present in that executive

 10     session?

 11             A.   Yes.

 12             Q.   And can you tell the Court, was the sole

 13     purpose of that executive session to review and approve

 14     the employment contract of Wayne LaPierre?

 15                          MR. WATSON:     Objection.       There may be a

 16     privilege here, but I'll let the NRA assert that

 17     privilege.

 18                          MR. CICILIANO:       Yeah, I would likewise

 19     object to the extent that it calls for the disclosure of

 20     attorney/client communications or work product.                I would

 21     direct you not to answer on behalf of the NRA, but

 22     generally --

 23                          MR. WATSON:     I'm sorry.       Are you done,

 24     Dylan?

 25                          MR. CICILIANO:       Yes.

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  1                          MR. WATSON:       I am going to instruct you
  2     not to answer that, Judge --
  3                          THE WITNESS:        Thank you.
  4                          MR. WATSON:       -- on that basis.
  5            Q.    (BY MR. PRONSKE)          So Judge Journey, are you
  6     refusing to answer that question?
  7            A.    I'm sorry, what?
  8            Q.    Are you refusing to answer that question on
  9     your attorney's advice?
 10            A.    I think I should rely on my counsel's advice,
 11     yes.
 12            Q.    Okay.     So were -- was -- when that committee
 13     broke up -- broke into session, was the full board told
 14     that this -- that there was going to be an executive
 15     session?
 16            A.    Generally, an executive session is moved by
 17     one of the members of the board and then voted on
 18     whether they should go into executive session.                   So it's
 19     not like anybody tells you except by making the motion.
 20            Q.    Okay.     And that motion was made in the full
 21     board session.        Is that right?
 22            A.    Yes.
 23            Q.    And the full board would have had all of the
 24     board of directors and other individuals that would
 25     have -- there would have been attorneys and then there

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   1    would have been other individuals there.              Is that

   2    correct?

   3           A.    Yes.     There were -- there's the board counsel,

   4    Wit.    And then, of course, there's the general counsel,

   5    the secretary.        They were both present, and I believe

   6    Mr. Brewer was present also.            I know he came in and out

   7    of the room a couple times.

   8           Q.    Would there -- would that -- would the full

   9    board session be a session that would be considered

 10     privileged?

 11                          MR. CICILIANO:       Objection, calls for a

 12     legal conclusion.

 13            Q.    (BY MR. PRONSKE)        Or just the executive

 14     session?

 15                          MR. WATSON:     I'm going to object.       It

 16     does call for a legal conclusion.

 17            Q.    (BY MR. PRONSKE)        You can answer, if you know.

 18                          MR. WATSON:     You can answer.     You can go

 19     ahead and answer, Judge.

 20            A.    Okay.     What was the question again?

 21            Q.    (BY MR. PRONSKE)        The question is is it just

 22     the executive sessions that are considered to be

 23     privileged, or is the full board session also considered

 24     privileged?

 25            A.    I --

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   1                         MR. WATSON:     I'm going to object.       Same

   2    objection.

   3                 Before you answer, Judge, let me object.

   4                         THE WITNESS:      Okay.

   5                         MR. WATSON:     Calls for a legal

   6    conclusion.

   7                 But you can answer.

   8           A.    It's my understanding that the regular board

   9    meeting is reflected in the minutes and, therefore, it's

 10     not privileged because everybody has access to the

 11     minutes.

 12            Q.    (BY MR. PRONSKE)        Okay.

 13            A.    So I believe the privilege extends to the

 14     executive session.

 15            Q.    Okay.     So then I'm going to go back to my

 16     original question that was objected to, which is did the

 17     full board -- was the full board aware that there was

 18     going to be an executive session where the sole issue to

 19     be reviewed would be the Wayne LaPierre employment

 20     contract?

 21                          MR. WATSON:     Same objection, calls for

 22     speculation.      He can't testify to what the other board

 23     members knew.        He can only testify to what he observed

 24     or his impression of what happened.

 25                          MR. CICILIANO:       And I would further

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   1    object to the extent that it requires the judge to

   2    actually opine as to what was discussed in a privileged

   3    session in order to answer the question, as it

   4    presupposes the privilege, the nature of the

   5    communication.

   6           Q.    (BY MR. PRONSKE)        You can answer the question.

   7           A.    The board goes into executive session when a

   8    member of the board makes a motion and it's seconded,

   9    and then the board votes on that motion.               If the

 10     board -- so someone would bring up the topic, and then

 11     someone would say let's go into executive session, and

 12     then the board votes, and they go into executive session

 13     if it passes.      I mean, it's not like they say we're

 14     going to do this at that time and we'll be here.

 15            Q.    Was the board aware that there was going to be

 16     an executive session where the Wayne LaPierre employment

 17     contract was going to be discussed and approved?

 18                        MR. WATSON:       Objection, asked and

 19     answered or --

 20                  Could you restate the question, Gerrit?

 21            A.    I don't think there was any advance notice

 22     like an agenda.       You know, you all have copies of the

 23     agenda.     It doesn't say we're going into executive

 24     session here.

 25            Q.    (BY MR. PRONSKE)        Okay.      Can you tell the

                                                                        Page 20

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   1    Court which attorneys were present in the executive

   2    session to discuss the employment contract?

   3                         MR. CICILIANO:       I would just object on

   4    the same point to the nature of the question and

   5    presupposing what was discussed.

   6                 You can answer who was at the executive

   7    session, what attorneys.

   8           A.    I don't remember if Brewer was in the room

   9    during that conversation, but I believe Mr. Frazer was.

 10     He was there the entire time.             And I believe board

 11     counsel was present.

 12            Q.    (BY MR. PRONSKE)        Is that William Davis?

 13            A.    Yes.

 14            Q.    Okay.

 15            A.    That's Wit.     That's all I know, Wit.          Yeah,

 16     you're right, William Davis, okay.

 17            Q.    And was Sara Rogers present?

 18            A.    I'm not sure.

 19            Q.    Were there any staff members present in that

 20     executive session?

 21                          MR. CICILIANO:       Objection, vague.

 22            A.    You presume I know everybody.            I don't know.

 23            Q.    (BY MR. PRONSKE)        Okay.      During that executive

 24     session, were the members that were sitting in that

 25     session provided with a copy of Mr. LaPierre's

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   1    employment contract to be approved?

   2           A.    They were not given a copy, no.          There were

   3    two copies at two tables, and you had to sit there and

   4    read it and turn it back in.

   5           Q.    And did you go over and open that contract and

   6    review it?

   7           A.    Yes, I read it.

   8           Q.    Was there a presentation made by someone with

   9    respect to that contract?

 10            A.    Mr. Cotton was the -- is the first vice

 11     president of the NRA, and as President Meadows was not

 12     at the board meeting, he ran the meeting.             So there was

 13     another lawyer in the room, too, by the way.              You know,

 14     you'll have to ask him what he said.

 15            Q.    Okay.     And was Mr. LaPierre present in that

 16     session?

 17            A.    No.     No.

 18            Q.    This morning --

 19            A.    Mr. LaPierre came for about three minutes and

 20     left and did not return to the board meeting.

 21            Q.    Okay.     So he attended the full board meeting

 22     or this executive session?

 23            A.    He was not in either of the executive

 24     sessions.

 25            Q.    Okay.     So Mr. Frazer testified this morning he

                                                                     Page 22

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   1    was in that executive session.             Is he just incorrect on

   2    that?

   3                         MR. WATSON:     Objection, assumes facts not

   4    in evidence.      Judge Journey wasn't present this morning

   5    at Mr. Frazer's deposition.

   6            Q.   (BY MR. PRONSKE)        Let me rephrase that.

   7                 If Mr. Frazer said at a deposition this

   8    morning that Mr. LaPierre was in that session, would he

   9    be incorrect?

 10             A.   My recollection is that the way the board

 11     meeting runs is we all go in and we do the roll call and

 12     then the officers give us their reports, like the EVP,

 13     Mr. LaPierre.        And he came in, gave his report.             It was

 14     very short.      And he left.      And I don't remember seeing

 15     him enter the room again --

 16             Q.   Okay.

 17             A.   -- during the board meeting.

 18                  So you know, maybe Frazer -- but I'm looking

 19     forward and Frazer is looking back.                   So he may have

 20     entered behind me and I had not seen it.                   I don't know.

 21     All I know is what I saw in front of me.

 22             Q.   Was there a discussion in that session of

 23     authority to file for bankruptcy?

 24                          MR. CICILIANO:       I would just object

 25     pursuant to the attorney/client privilege and direct the

                                                                         Page 23

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   1    witness not to answer.

   2                         MR. WATSON:     And I, too, am going to

   3    direct you not to answer that, Judge Journey.

   4                         THE WITNESS:      Okay.

   5           A.    Okay.     I can't tell you what they did say, but

   6    I think I can tell you what they didn't say.                 And nobody

   7    during that --

   8                         MR. CICILIANO:       I would object -- I would

   9    object, Judge, and direct you that what was said or was

 10     not said is covered by the attorney/client privilege,

 11     and I would direct you not to answer.                 The NRA is not

 12     waiving that privilege.

 13                          THE WITNESS:      Okay.

 14            A.    Nobody said the word "bankruptcy."

 15            Q.    (BY MR. PRONSKE)        Okay.      And did anyone say

 16     the word -- and let me ask you this question.                 As far as

 17     not answering the question regarding a discussion about

 18     authority to file bankruptcy, are you refusing to answer

 19     that question?

 20            A.    No.     You know, I think my motion speaks for

 21     itself.

 22            Q.    Okay.

 23            A.    Doesn't it?

 24                          MR. CICILIANO:       Mr. Pronski, we ought to

 25     be clear here that the privilege is not his to assert or

                                                                       Page 24

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   1    to waive.      The privilege is for the NRA to assert and

   2    waive.      And if you are going to insist on getting -- and

   3    with respect to Mr. Journey, he may want to talk about

   4    it.

   5                  But to the extent you're going to insist that

   6    he break or attempt to break the privilege that's owned

   7    by the NRA, I will have to shut the deposition down to

   8    seek a protective order under Rule 3OG or 30D.

   9                  I don't intend to interfere with the rest of

 10     his testimony.      So if that's your intent to do so, I say

 11     we draw a box around this and move on to other subject

 12     matters.

 13                        MR. PRONSKE:        Well, I think you're going

 14     to have a hard time shutting the deposition down because

 15     I'm insisting on something when all I've done,

 16     Mr. Ciciliano, is ask questions, and I am going to

 17     continue to ask questions, and I am going to ask him --

 18     when he doesn't want to answer a question, I am going to

 19     ask him if he refuses to answer the question.              If you

 20     interpret that as insisting, then by all means file

 21     whatever you need to file.

 22            Q.     (BY MR. PRONSKE)       Judge Journey, can you tell

 23     the Court, you've said that the word "bankruptcy" was

 24     not used in that session.          Was the word "Chapter 11"

 25     used in that session?

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   1                       MR. CICILIANO:         I am going to object and

   2    direct you not to answer pursuant to the attorney/client

   3    privilege, and if you insist on answering, the

   4    deposition will be terminated right now.

   5           Q.    (BY MR. PRONSKE)        Are you refusing to answer

   6    that question, Judge Journey?

   7                       MR. WATSON:       I am going to direct you not

   8    to answer, Judge Journey.

   9                       THE WITNESS:        Okay.     Okay.   All right, I

 10     will follow your lead, Mr. Watson.

 11            Q.    (BY MR. PRONSKE)        Was the word

 12     "reorganization" used in that executive session?

 13                        MR. CICILIANO:         I will once again object

 14     and direct the witness not to answer pursuant to the

 15     attorney/client privilege.

 16                        MR. WATSON:       I will direct you not to

 17     answer, Judge Journey.

 18                        THE WITNESS:        Thank you.

 19            Q.    (BY MR. PRONSKE)        Are you refusing to answer,

 20     Judge Journey?

 21            A.    I reluctantly am, yeah.

 22            Q.    Was the word -- were either the word "court"

 23     or the word "filing" used in that executive session?

 24                        MR. CICILIANO:         I will once again object

 25     pursuant to the attorney/client privilege and direct the

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   1    judge not to answer.

   2                        MR. WATSON:      Judge, don't answer the

   3    question.     I'm instructing you not to answer.

   4                        THE WITNESS:       Okay.

   5           A.    I'm sorry, I have to say no, I can't answer.

   6           Q.    (BY MR. PRONSKE)        Judge Journey, as you -- as

   7    you know, the LaPierre employment agreement says -- that

   8    was approved says that Wayne LaPierre is empowered,

   9    quote, to reorganize or restructure the affairs of the

 10     association for purposes of cost minimization,

 11     regulatory compliance or otherwise, closed quote.                Are

 12     you aware of that language?

 13            A.    Yes.

 14            Q.    Was there any discussion during the executive

 15     committee session whatsoever regarding that sentence of

 16     the agreement?

 17                         MR. CICILIANO:        I am going to object

 18     pursuant to the attorney/client privilege and direct the

 19     judge not to answer.

 20                         MR. WATSON:      Yeah, Judge, don't -- I'm

 21     going to instruct you not to answer that question.

 22                         THE WITNESS:       All right.     That's fine.

 23            Q.    (BY MR. PRONSKE)        Your testimony, I believe,

 24     Judge Journey, is that you did read the entire agreement

 25     before it was approved?

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   1           A.    That's correct.

   2           Q.    As a board member of the NRA, do you believe

   3    that those -- that that sentence approved or authorized

   4    the filing of a bankruptcy by the NRA?

   5                       MR. CICILIANO:         I would just object, and

   6    to the extent that your belief is based on what has been

   7    told to you by the counsel of the NRA, I would direct

   8    you not to answer.       To the extent you have an individual

   9    recollection, you may.

 10                        MR. WATSON:       Judge Journey, you can

 11     answer based on your -- based on your knowledge or

 12     observations.

 13                        THE WITNESS:        Okay.

 14            A.    So what was the question again?                You guys, I'm

 15     having too much fun watching y'all.                   I'm sorry, I'm

 16     distracted, okay.

 17            Q.    (BY MR. PRONSKE)        The question, Judge Journey,

 18     is that that sentence that I read from the employment

 19     contract, do you believe that those words authorized or

 20     approved a bankruptcy filing of the NRA?

 21            A.    You know, when I read that -- we reorganize

 22     the NRA all the time.        We create committees, and we do

 23     all kinds of things that are not what would have been

 24     contemplated as what occurred.             So, you know, I did

 25     not -- I'm a little mad at myself because I didn't make

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   1    that link.

   2           Q.    You didn't make that connection.               There was

   3    certainly no discussion of bankruptcy that would have

   4    allowed you to make that connection.                  Is that right?

   5                       MR. CICILIANO:         I am going to object

   6    pursuant to the attorney/client privilege and direct the

   7    witness not to answer what occurred in the executive

   8    session.

   9                       MR. WATSON:       Yes, Judge, don't -- don't

 10     answer the question.

 11            A.    Yeah, I don't have to answer that one.                 That's

 12     self-apparent.

 13            Q.    (BY MR. PRONSKE)        So to be apparent and to be

 14     clear, your testimony is, am I correct, Judge Journey,

 15     that you did not make any correction -- any correlation

 16     in your mind between that sentence of the employment

 17     contract or any other sentence in the employment

 18     contract and the filing of a bankruptcy.                  Is that

 19     correct?

 20                        MR. CICILIANO:         I would just to -- I

 21     would just object.       To the extent that that requires you

 22     to divulge what's in your mind with respect to what was

 23     informed to you by counsel of the NRA, I would direct

 24     you not to answer to that extent.

 25                        MR. WATSON:       Judge, you can answer the

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   1    question based upon what you know and your recollection.

   2                         THE WITNESS:      Thank you.

   3           A.    You know, I just want to say "sustained" or

   4    "overruled."      I don't know.

   5                 But anyway, you know, there was -- there was

   6    no hint in my little feeble mind that anyone was

   7    contemplating bankruptcy.

   8           Q.    (BY MR. PRONSKE)        All right.       And was the

   9    resolution to approve the employment contract ultimately

 10     adopted by the executive session?

 11            A.    It was adopted, and then it was reflected in

 12     the minutes when we came out.

 13            Q.    And was that adoption unanimous?

 14            A.    I -- I know I voted for it, but I'm not sure.

 15     I suppose so.        I don't remember anybody sticking

 16     their -- else sticking their head out of the trench.

 17            Q.    Right.

 18                  Do you -- have you had any discussions with

 19     board members about the bankruptcy filing after it was

 20     filed?

 21            A.    Sure.

 22            Q.    How many would you say you've spoken with?

 23            A.    (Laughter.)     I talk to a lot of people.             I

 24     mean, you know, I called the US Trustee for Kansas, who

 25     just retired who is a really good friend of mine.                   I

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   1    talked to him.       I talked to lots of people after the

   2    filing of the bankruptcy, sure.

   3           Q.    So can you -- let's drill down on that

   4    conversation with the US Trustee.               Can you tell me about

   5    that conversation?

   6           A.    He is a really good friend, been my friend for

   7    over 30 years, Ed Nazar.          He just retired as the trustee

   8    for the district of Kansas.            And I talked to him about

   9    the bankruptcy.       And he was so kind.             He sent me

 10     mountains of research, and I learned all about

 11     Chapter 11 in about four days.

 12            Q.    Did you have any discussion with that United

 13     States trustee about any concerns that you had that that

 14     bankruptcy was not authorized in the board meeting?

 15            A.    Yes.

 16                         MR. WATSON:      Objection.

 17                         THE WITNESS:       Sorry.

 18                         MR. WATSON:      Objection.         It calls for

 19     speculation, and it calls for a legal conclusion based

 20     upon -- to the extent it calls for a legal conclusion, I

 21     am instructing him not to answer, but he can answer

 22     generally as to what his understanding is of how

 23     bankruptcy works.

 24            Q.    (BY MR. PRONSKE)        Actually, that's not the

 25     question.     The question is what was discussed with the

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   1    US Trustee as far as the authorization issue?

   2           A.    That -- that was one of the questions, was how

   3    corporations authorize the filing of a bankruptcy.

   4           Q.    What was the substance of that conversation

   5    regarding authorization?

   6           A.    Oh, my gosh.      That was so long ago.       That was

   7    like on January 16, you know.             We had -- we had many

   8    conversations over the next three days, because I would

   9    seek clarification and he would send me more research.

 10     I thought he was going to send me his Colyers and just

 11     get it over with, you know.

 12            Q.    Did you tell that -- did you tell that US

 13     Trustee during any of those conversations that you

 14     believed that the filing of the bankruptcy by the NRA

 15     was not authorized?

 16                        MR. WATSON:       Objection, calls for a legal

 17     conclusion.

 18                  You can answer.

 19            A.    That was my impression, yes, and that was what

 20     I related to Mr. Nazar.

 21            Q.    (BY MR. PRONSKE)        And did you tell the United

 22     States Trustee during those conversations that the

 23     filing of bankruptcy was not discussed in the board

 24     meetings?

 25                        MR. CICILIANO:         I would just object here.

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   1    First of all, I think you're mischaracterizing.                  He

   2    wasn't the US Trustee.

   3                 But second of all, to the extent that you did

   4    disclose anything covered by the attorney/client

   5    privilege, I would direct you not to disclose it again.

   6    That's not a waiver.        You don't have the ability to

   7    waive it.

   8                         THE WITNESS:      Thank you.     One thing I

   9    would like to clarify --

 10                          MR. WATSON:     I instruct you not to answer

 11     the question, Judge.

 12                          THE WITNESS:      I just want to make sure

 13     they say the retired trustee, because he's retired and

 14     playing with his grandkids in Kansas City, and that's

 15     where I found him, you know.            He -- he retired like six

 16     months ago or something like that.               He had been a

 17     trustee for 30 years ago.

 18            Q.    (BY MR. PRONSKE)        So are you refusing to

 19     answer that question under advice of counsel?

 20            A.    I think we could go there for that, for this

 21     one right now, yeah.

 22            Q.    Okay.     Do you believe, Judge Journey, as a

 23     board member that only the full board of directors of

 24     the NRA can authorize a bankruptcy filing?

 25                          MR. WATSON:     Objection, calls for legal

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  1     you say "those topics," what exactly are you --
  2            A.     The topics of the executive sessions.
  3     Mr. Cotton was chairing the meeting.
  4            Q.     Was there anybody giving a presentation at
  5     that executive session other than Mr. Cotton?
  6                           MR. CICILIANO:         Objection to form.
  7            A.     I'm not certain.          I am not certain on that.
  8            Q.     (BY MR. PRONSKE)          And was Mr. Cotton -- I
  9     understand Mr. Cotton is an attorney, but was he in his
 10     capacity as attorney in that meeting?                     And if so, who
 11     was he representing?
 12            A.     No, he was not acting as counsel.                 He was
 13     acting as first vice president and chairing the meeting
 14     because the president wasn't there, as I explained
 15     before.
 16            Q.     Okay.     And what did he say during that
 17     presentation?
 18            A.     That is what happened in executive session
 19     and --
 20                           MR. CICILIANO:         Yeah, I would object
 21     pursuant to attorney/client privilege and instruct you
 22     not to answer.
 23                           MR. WATSON:       Okay.         Yeah, I am going to
 24     instruct you not to answer.
 25                           MR. PRONSKE:        It's not a conversation

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   1    between an attorney who is acting in the capacity as an

   2    attorney and clients.        Are you saying it's just because

   3    of the presence of attorneys in that room?

   4                       MR. CICILIANO:         No, Gerrit.      I'm saying

   5    because we have a declaration, as you well know, board

   6    counsel who actually explains that they were all

   7    discussing attorney/client privilege.                 So you may want

   8    to beat around it and try to snip out portions.                 It's

   9    not going to happen.        I am directing him not to answer,

 10     as is his counsel.

 11                        MR. PRONSKE:        Who is the attorney that

 12     you say was involved in that attorney/client discussion,

 13     Mr. Ciciliano?

 14                        MR. CICILIANO:         I believe the declaration

 15     says William Davis, as well as counsel from Brewer.

 16                        MR. PRONSKE:        And so just because an

 17     attorney was present in the room, all discussions in

 18     that executive session were privileged?

 19                        MR. CICILIANO:         No.    But if you actually

 20     look at the declaration, what they say is that every

 21     discussion they had in there was regarding legal advice.

 22     So in that instance, yes.

 23                        MR. PRONSKE:        So you're saying that

 24     everything that happened in the executive session

 25     regarding Wayne LaPierre's employment contract on

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   1    January 7th was privileged.            Is that right?

   2                       MR. CICILIANO:         For this one, for what

   3    I'm seeing, absolutely.

   4                       MR. PRONSKE:        Okay.

   5           Q.    (BY MR. PRONSKE)        And Judge Journey, are you

   6    refusing to answer the question based on Mr. Ciciliano's

   7    advice?

   8                       MR. WATSON:       Well, it's my advice.      I am

   9    instructing him not to answer.

 10            Q.    (BY MR. PRONSKE)        Okay.      Are you refusing to

 11     answer the question based on advice of counsel?

 12            A.    I am going to defer to counsel, yes.

 13            Q.    When you said -- when you testified that

 14     bankruptcy is not the disease but it's a symptom of the

 15     disease, what is the disease?

 16            A.    I think the disease and its symptoms are

 17     described in great detail in the New York Attorney

 18     General and the Washington, D.C. Attorney General's

 19     petitions.     There are other things that I've read in

 20     other cases that gave me pause also and concern.

 21            Q.    When you testified that there have been,

 22     quote, so many resignations from the board, why do you

 23     believe there have been so many resignations from the

 24     board?

 25            A.    Well, it's part of the process to make the

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                          Federal Rules of Civil Procedure

                                           Rule 30



            (e) Review By the Witness; Changes.

            (1) Review; Statement of Changes. On request by the

            deponent or a party before the deposition is

            completed, the deponent must be allowed 30 days

            after being notified by the officer that the

            transcript or recording is available in which:

            (A) to review the transcript or recording; and

            (B) if there are changes in form or substance, to

            sign a statement listing the changes and the

            reasons for making them.

            (2) Changes Indicated in the Officer's Certificate.

            The officer must note in the certificate prescribed

            by Rule 30(f)(1) whether a review was requested

            and, if so, must attach any changes the deponent

            makes during the 30-day period.




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